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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTIRCT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

   DR. TERRY RZEPKOSKI and KRISTEN
   ASSELTA, on behalf of the Nova
   University Defined Contribution Plan,
   individually and as a representative of a
   class of participants and beneficiaries,

               Plaintiffs,
                                                    CASE NO.:
   vs.


   NOVA SOUTHEASTERN UNIVERSITY,
   INC.,

               Defendant.


                                 CLASS ACTION COMPLAINT

         On behalf of the Nova Southeastern University 401(k) Plan (“Plan”), Dr. Terry Rzepkoski

  and Kristen Asselta (“Plaintiffs”), file this Class Action Complaint against Defendant Nova

  Southeastern University, Inc. (“University” or “Defendant”), for breaching its fiduciary duties in

  violation of the Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461 (“ERISA”).

                                        BRIEF OVERVIEW

         1.      The University offers a retirement plan to its employees under 26 U.S.C. § 401(k).

  Eligible faculty and staff members may elect to participate in the Plan, which provides the primary

  source of retirement income for many former employees. The Named Plaintiffs are each Plan

  participants. The Plan has over 7,500 participants and nearly $400 million in assets.

         2.      Defined contribution retirement plans, like the Plan, confer tax benefits on

  participating employees to incentivize saving for retirement. According to the Investment

  Company Institute, Americans held $7.9 trillion in all employer-based defined contribution
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  retirement plans as of March 31, 2020, of which $5.6 trillion was held in 401(k) plans. See

  INVESTMENT COMPANY INSTITUTE, Retirement Assets Total $28.7 Trillion in First Quarter

  2020 (June 17, 2020).

            3.   In a defined contribution plan, “participants’ retirement benefits are limited to the

  value of their own individual investment accounts, which is determined by the market performance

  of employee and employer contributions, less expenses.” Tibble v. Edison Int’l, 575 U.S. 523

  (2015). Because all risks related to high fees and poorly performing investments are borne by the

  participants, the employer has little incentive to keep costs low or to closely monitor the Plan to

  ensure every investment remains prudent.

            4.   To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

  duties of loyalty and prudence upon employers and other plan fiduciaries. 29 U.S.C. § 1104(a)(1).

  These twin fiduciary duties are “the highest known to the law.” Sweda v. Univ. of Pennsylvania,

  923 F.3d 320, 333 (3d Cir. 2019). Fiduciaries must act “solely in the interest of the participants

  and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the “care, skill, prudence, and diligence” that

  would be expected in managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B).

            5.   Because retirement savings in defined contribution plans grow and compound over

  the course of the employee participants’ careers, poor investment performance and excessive fees

  can dramatically reduce the amount of benefits available when the participant is ready to retire.

  Over time, even small differences in fees and performance compound and can result in vast

  differences in the amount of savings available at retirement. As the Supreme Court has explained,

  “[e]xpenses, such as management or administrative fees, can sometimes significantly reduce the

  value of an account in a defined-contribution plan.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1825

  (2015).




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         6.      The impact of excessive fees on employees’ and retirees’ retirement assets is

  dramatic. The U.S. Department of Labor has noted that a 1% higher level of fees over a 35-year

  period makes a 28% difference in retirement assets at the end of a participant’s career. U.S. Dep’t

  of Labor, A Look at 401(k) Plan Fees, at 1–2 (Aug. 2013).

         7.      As of December 31, 2020, the Plan had $374,526.938 in assets. Accordingly, the

  Plan has substantial bargaining power regarding the fees and expenses that are charged against

  participants’ investments. However, instead of leveraging the Plan’s tremendous bargaining power

  to benefit participants and beneficiaries, Defendant chose poorly performing investments,

  inappropriate, high-cost mutual fund share classes, and caused the Plan to pay unreasonable and

  excessive fees for recordkeeping and other administrative services.

         8.      However, to the extent that Defendant made any attempt to reduce the Plan’s

  expenses or to prudently monitor and review the Plan’s investment options, Defendant employed

  flawed and ineffective processes, which failed to ensure that: (a) the fees and expenses charged to

  Plan participants were reasonable, and (b) that each investment option that was offered in the Plan

  was prudent.

         9.      Defendant’s mismanagement of the Plan constitutes a breach of the fiduciary duty

  of prudence in violation of 29 U.S.C. § 1104. Defendant’s actions (and omissions) were contrary

  to actions of a reasonable fiduciary and cost the Plan and its participants millions of dollars.

                                   JURISDICTION AND VENUE

         10.     This Court has exclusive jurisdiction over the subject matter of this action under 29

  U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it is an action under 29 U.S.C. §1132(a)(2) and

  (3).




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        11.      This judicial District is the proper venue for this action under 29 U.S.C. §1132(e)(2)

  and 28 U.S.C. §1391(b) because it is the district in which the Plan is administered, where at least

  one of the alleged breaches took place, and where the Defendant resides.

                                              THE PLAN

         12.     The Plan is a qualified retirement plan commonly referred to as a 401(k) plan.

         13.     The Plan is established and maintained under written documents in accordance with

  29 U.S.C. §1102(a)(1).

         14.     More specifically, the Plan is a “defined contribution” or “individual account” plan

  within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34).

         15.     Eligible faculty and staff members of the University are eligible participate in the

  Plan. The Plan provides the primary source of retirement income for many University employees.

  The ultimate retirement benefit provided to participants depends on the performance of investment

  options chosen for the Plan by Defendant.

         16.     In theory, Defendant determines the appropriateness of the Plan’s investment

  offerings, monitors investment performance, and reviews total plan and fund costs each year.

                                           THE PARTIES

                                        Plaintiffs & Standing

         17.     Plaintiff Dr. Terry Rzepkoski is a current participant in the Plan under 29 U.S.C.

  §1002(7) because he has an individual account in the Plan. He was subject to the ERISA breaches

  of fiduciary duty described herein.

         18.     Plaintiff Kristen Asselta is a participant in the Plan under 29 U.S.C. §1002(7)

  because she has an individual account in the Plan. She was subject to the ERISA breaches of

  fiduciary duty described herein.




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          19.     In terms of standing, §1132(a)(2) allows recovery only for a plan and does not

  provide a remedy for individual injuries distinct from plan injuries. Here the Plan suffered millions

  of dollars in losses caused by Defendant’s fiduciary breaches.

          20.     The Plan continues suffering economic losses, and those injuries may be redressed

  by a judgment of this Court in favor of Plaintiff and the Plan. The Plan is the victim of any fiduciary

  breach and the recipient of any recovery. Id. at 254.

          21.     Section 1132(a)(2) authorizes any participant to sue derivatively as a representative

  of the plan to seek relief on behalf of the plan. 29 U.S.C. §1132(a)(2). As explained in detail below,

  the Plan suffered millions of dollars in losses caused by Defendant’s fiduciary breaches and it

  remains exposed to harm and continued losses, and those injuries may be redressed by a judgment

  of this Court in favor of Plaintiffs.

          22.     To the extent the Plaintiffs must also show an individual injury even though

  §1132(a)(2) does not provide redress for individual injuries, Plaintiffs have standing to bring this

  action on behalf of the Plan because they participated in the Plan and were injured by Defendant’s

  unlawful conduct.

          23.     To establish standing, the Plaintiffs need only show a constitutionally adequate

  injury flowing from those decisions or failures. The Plaintiffs allege such an injury for each claim.

          24.     For example, the Plaintiffs have standing because the challenged conduct, including

  Defendant’s actions resulting in Plaintiffs and the class members paying excessive recordkeeping

  and administrative fees, affected all Plan participants in the same way.

          25.     Additionally, the Plaintiffs have standing as to Defendant’s imprudent selection and

  retention of the TIAA and VALIC funds because the Plaintiffs each invested in at least one of the




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  TIAA and VALIC funds. Thus, the Plaintiffs and each class representative suffered a concrete

  injury traceable to Defendant’s imprudent actions.

         26.     Moreover, the Plaintiffs’ individual accounts in the Plan were harmed because they

  invested in investment options that would have been removed from the Plan had Defendant

  discharged its fiduciary duties. These investment options underperformed numerous prudent

  alternatives that were available to the Plan, resulting in a loss of retirement savings.

         27.     As a result of Defendant’s actions, the Plaintiffs and class members are entitled to

  restitution in the amount of the difference between the value of their account currently, or as of the

  time their accounts were distributed, and what their accounts are or would have been worth, but

  for Defendant’s breaches of fiduciary duty as described herein.

                                                   Defendant

         28.     Defendant is as a private, not-for-profit, nonsectarian university with its principal

  place of business in Fort Lauderdale, Florida.

         29.     Defendant offers two retirement plans to eligible employees: a 401(k) Plan and a

  403(b) plan. Both Plans are defined-contribution plans. In such plans, participating employees

  maintain individual investment accounts, which are funded by pretax contributions from the

  employees’ salaries and, where applicable, matching contributions from the employer. Each

  participant chooses how to invest his or her funds, subject to an important limitation: Participants

  may choose only from the menu of options selected by Defendant.

         30.     The performance of chosen investments, as well as the deduction of any associated

  fees, determines the amount of money the participant will have saved for retirement

         31.     Defendant is the Plan Administrator under 29 U.S.C. §1002(16)(A)(i), and upon

  information and belief, with exclusive responsibility and complete discretionary authority to




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  control the operation, management and administration of the Plan, with all powers necessary to

  enable it properly to carry out such responsibilities, including the selection and compensation of

  the providers of administrative services to the Plan and the selection, monitoring, and removal of

  the investment options made available to participants for the investment of their contributions and

  provision of their retirement income.

            32.     Defendant is a fiduciary to the Plan because it exercised discretionary authority and

  discretionary control respecting the management of the Plan or exercised authority or control

  respecting the management or disposition of Plan assets and has discretionary authority or

  discretionary responsibility in the administration of the Plan. 29 U.S.C. §1002(21)(A)(i) and (iii).

                                   CLASS ACTION ALLEGATIONS

            33.     Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P. 23 on behalf

      of themselves and the following proposed class (“Class”): 1

                    All persons, except Defendant and their immediate family members,
                    who were participants in or beneficiaries of the Plan, at any time
                    between June 15, 2016 and the present (the “Class Period”).
            34.     The members of the Class are so numerous that joinder of all members is

      impractical. According to the 2020 Form 5500 filed with the U.S. Department of Labor, there

      were 6,202 Plan participants with account balances, as of December 31, 2020.

            35.     Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

      Class members, Plaintiffs participated in the Plan and have suffered injuries because of

      Defendant’s mismanagement of the Plan. Defendant treated Plaintiffs consistently with other

      Class members and managed the Plan as a single entity. Plaintiffs’ claims and the claims of all

      Class members arise out of the same conduct, policies, and practices of Defendant as alleged


  1
    Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion
  for class certification or subsequent pleadings in this action.


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   herein, and all members of the Class have been similarly affected by Defendant’s wrongful

   conduct.

          36.     There are questions of law and fact common to the Class, and these questions

   predominate over questions affecting only individual Class members. Common legal and factual

   questions include, but are not limited to:

                  A.     Whether Defendant is a fiduciary of the Plan;

                  B.     Whether Defendant breached its fiduciary duty of prudence by engaging
                         in the conduct described herein;

                  C.     Whether Defendant failed to adequately monitor other fiduciaries to
                         ensure the Plan was being managed in compliance with ERISA;

                  D.     The proper form of equitable and injunctive relief; and

                  E.     The proper measure of relief.

          37.     Plaintiffs will fairly and adequately represent the Class and have retained counsel

   experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no

   interests antagonistic to those of other members of the Class. Plaintiffs are committed to the

   vigorous prosecution of this action and anticipate no difficulty in the management of this litigation

   as a class action.

          38.     This action may be properly certified under Fed. R. Civ. P. 23(b)(1). Class action

   status in this action is warranted under Fed. R. Civ. P. 23(b)(1)(A) because prosecution of separate

   actions by the members of the Class would create a risk of establishing incompatible standards of

   conduct for Defendant. Class action status is also warranted under Fed. R. Civ. P. 23(b)(1)(B)

   because prosecution of separate actions by the members of the Class would create a risk of

   adjudications with respect to individual members of the Class that, as a practical matter, would




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   be dispositive of the interests of other members not parties to this action, or that would

   substantially impair or impede their ability to protect their interests.

         39.     In the alternative, certification under Fed. R. Civ. P. 23(b)(2) is warranted because

   the Defendant has acted or refused to act on grounds generally applicable to the Class, thereby

   making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

   to the Class as a whole.

    DEFENDANT’S FIDUCIARY STATUS AND OVERVIEW OF FIDUCIARY DUTIES

         40.     ERISA requires every covered retirement plan to provide for one or more named

   fiduciaries who will have “authority to control and manage the operation and administration of

   the plan.” ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1).

         41.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

   § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary

   functions. Thus, a person is a fiduciary to the extent: “(i) he exercises any discretionary authority

   or discretionary control respecting management of such plan or exercise any authority or control

   respecting management or disposition of its assets, (ii) he renders investment advice for a fee or

   other compensation, direct or indirect, with respect to any moneys or other property of such plan,

   or has any authority or responsibility to do so, or (iii) he has any discretionary authority or

   discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A)(i), 29 U.S.C.

   § 1002(21)(A)(i).

         42.     As described above, Defendant was a fiduciary of the Plan because:

                   A.      it was so named; and/or

                   B.      it exercised authority or control respecting management or disposition of
                           the Plan’s assets; and/or




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                   C.      it exercised discretionary authority or discretionary control respecting
                           management of the Plan; and/or

                   D.      it had discretionary authority or discretionary responsibility in the
                           administration of the Plan.

         43.     As fiduciaries, Defendant is/are required by ERISA § 404(a)(1), 29 U.S.C. §

   1104(a)(1), to manage and administer the Plan, and the Plan’s investments, solely in the interest

   of the Plan’s participants and beneficiaries and with the care, skill, prudence, and diligence under

   the circumstances then prevailing that a prudent person acting in a like capacity and familiar with

   such matters would use in the conduct of an enterprise of a like character and with like aims.

   These twin duties are referred to as the duties of loyalty and prudence, and they are “the highest

   known to the law.” Sweda, 923 F.3d at 333.

         44.     The duty of loyalty requires fiduciaries to act with an “eye single” to the interests

   of plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000) (internal citations omitted).

   “Perhaps the most fundamental duty of a [fiduciary] is that he [or she] must display…complete

   loyalty to the interests of the beneficiary and must exclude all selfish interest and all consideration

   of the interests of third persons.” Id. at 224 (quotation marks and citations omitted).

         45.     “Thus, in deciding whether and to what extent to invest in a particular investment,

   a fiduciary must ordinarily consider only factors relating to the interests of plan participants

   and beneficiaries in their retirement income. A decision to make an investment may not be

   influenced by non-economic factors unless the investment, when judged solely on the basis of its

   economic value to the plan, would be equal or superior to alternative investments available to

   the plan.” U.S. Dep’t of Labor ERISA Adv. Op. 88-16A, 1988 WL 222716, at *3 (Dec. 19, 1988)

   (emphasis added).




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          46.     In effect, the duty of loyalty includes a mandate that the fiduciary display complete

   loyalty to the beneficiaries and set aside the consideration of third persons. See In re WorldCom,

   Inc., 263 F. Supp. 2d 745, 758 (S.D.N.Y. 2003) (“An ERISA fiduciary must ‘conduct a careful

   and impartial investigation’ of the merits and appropriate structure of a plan investment.”)

   (quoting Flanigan v. Gen. Elec. Co., 242 F.3d 78, 86 (2d Cir. 2001)).

         47.      ERISA also “imposes a ‘prudent person’ standard by which to measure fiduciaries’

   investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 573 U.S.

   409 (2014) (quotation omitted). In addition to a duty to select prudent investments, under ERISA

   a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent ones” that

   exist in a plan, which is “separate and apart from the [fiduciary’s] duty to exercise prudence in

   selecting investments.” Tibble, 575 U.S. 523. “[A] fiduciary cannot free himself from his duty to

   act as a prudent man simply by arguing that other funds...could theoretically, in combination,

   create a prudent portfolio.” In re Am. Int'l Grp., Inc. ERISA Litig. II, No. 08 CIV. 5722 LTS KNF,

   2011 WL 1226459, at *4 (S.D.N.Y. Mar. 31, 2011) (quoting DiFelice v. U.S. Airways, Inc., 497

   F.3d 410, 418 n.3, 423–24 (4th Cir. 2007)).

         48.      In addition, ERISA § 405(a), 29 U.S.C. § 1105(a) (entitled “Liability for breach by

   co-fiduciary”) provides:

                  [I]n addition to any liability which he may have under any other
                  provision of this part, a fiduciary with respect to a plan shall be liable
                  for a breach of fiduciary responsibility of another fiduciary with
                  respect to the same plan in the following circumstances: (A) if he
                  participates knowingly in, or knowingly undertakes to conceal, an
                  act or omission of such other fiduciary, knowing such an act or
                  omission is a breach; (B) if, by his failure to comply with section
                  404(a)(1), 29 U.S.C. §1104(a)(1), in the administration of his
                  specific responsibilities which give rise to his status as a fiduciary,
                  he has enabled such other fiduciary to commit a breach; or (C) if he
                  has knowledge of a breach by such other fiduciary, unless he makes
                  reasonable efforts under the circumstances to remedy the breach.



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         49.      During the Class Period, Defendant did not act prudently or in the best interests of

   the Plan’s participants. Investment options chosen for a plan should not favor the fund provider

   over the plan’s participants. Yet, here, to the detriment of the Plan and their participants and

   beneficiaries, the Plan’s fiduciaries included and retained in the Plan many investment options that

   were more expensive than necessary and otherwise were not justified on the basis of their

   economic value to the Plan.

         50.      Based on reasonable inferences from the facts set forth in this Complaint, during

   the Class Period Defendant failed to have a proper system of review in place to ensure that

   participants in the Plan were being charged appropriate and reasonable fees for each of the Plan’s

   investment options. Additionally, Defendant failed to leverage the size of the Plan to negotiate the

   lowest expense ratio available for certain investment options maintained and/or added to the Plan

   during the Class Period. Defendant also caused the Plan and its participants to pay excessive

   administration fees and excessive compensation to service providers.

         51.      As set forth in detail below, Defendant breached fiduciary duties to the Plan and its

   participants and beneficiaries and is therefore liable for its breaches and the breaches of its co-

   fiduciaries under 29 U.S.C. §§ 1104(a)(1) and 1105(a).

                                     SPECIFIC ALLEGATIONS

        Improper Management of the Plan Cost the Plan’s Participants Millions in Savings

         52.      Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must provide diversified investment

   options for a defined-contribution plan while also giving substantial consideration to the cost of

   those options. “Wasting beneficiaries’ money is imprudent. In devising and implementing

   strategies for the investment and management of trust assets, trustees are obligated to minimize

   costs.” Uniform Prudent Investor Act (the “UPIA”) § 7.




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         53.      “The Restatement … instructs that ‘cost-conscious management is fundamental to

   prudence in the investment function,’ and should be applied ‘not only in making investments but

   also in monitoring and reviewing investments.’” Tibble v. Edison Int'l, 843 F.3d 1187, 1197–98

   (9th Cir. 2016) (quoting Restatement (Third) of Trust § 90, cmt. b). See also U.S. Dep’t of Labor,

   A Look at 401(k) Plan Fees, at 2 (Aug. 2013) (“You should be aware that your employer also has

   a speciﬁc obligation to consider the fees and expenses paid by your plan ... Employers are held to

   a high standard of care and diligence and must discharge their duties solely in the interest of the

   plan participants and their beneﬁciaries.”). 2

         54.      Higher fees of only 0.18% to 0.4% can have a large effect on a participant’s

   investment results over time because “[b]eneficiaries subject to higher fees for materially identical

   funds lose not only the money spent on higher fees, but also ‘lost investment opportunity’; that is,

   the money that the portion of their investment spent on unnecessary fees would have earned over

   time.” Tibble, 843 F.3d at 1198.

         55.      Most participants in 401(k) plans expect that their 401(k) accounts will be their

   principal source of income after retirement. “The 401(k) is the major source people think they are

   going to rely on.” 3 Although at all times 401(k) accounts are fully funded, that does not prevent

   plan participants from losing money on poor investment choices of plan sponsors and fiduciaries,

   whether due to poor performance, high fees, or both.

         56.      Indeed, the Department of Labor has stated that employers are held to a “high

   standard of care and diligence” and must both “establish a prudent process for selecting investment



   2
     Available at: https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
   center/publications/a-look-at-401k-plan-fees.pdf (last visited June 14, 2022).
   3
     Brandon, Emily, “10 Essential Sources of Retirement Income,” (May 6, 2011), available at:
   https://money.usnews.com/money/retirement/slideshows/10-essential-sources-of-retirement-
   income (last visited June 14, 2022).


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   options and service providers” and “monitor investment options and service providers once

   selected to see that they continue to be appropriate choices,” among other duties. See “A Look at

   401(k) Plan Fees,” supra.

          57.     The duty to evaluate and monitor fees and investment costs includes fees paid

   directly by plan participants to investment providers, usually in the form of an expense ratio or a

   percentage of assets under management within a particular investment. See Investment Company

   Institute (“ICI”), The Economics of Providing 401(k) Plans: Services, Fees, and Expenses, at 4

   (July 2016). 4 “Any costs not paid by the employer, which may include administrative, investment,

   legal, and compliance costs, effectively are paid by plan participants.” Id. at 5.

          58.     The fiduciary task of evaluating investments and investigating comparable

   alternatives in the marketplace is made much simpler by the advent of independent research from

   services like Morningstar, which categorizes funds to “help investors and investment professionals

   make meaningful comparisons between funds. The categories make it easier to build well-

   diversified portfolios, assess potential risk, and identify top-performing funds. [Morningstar] place

   funds in a given category based on their portfolio statistics and compositions over the past three

   years.” 5

          59.     Thus, prudent and impartial plan fiduciaries should continuously monitor both the

   performance and cost of the investments selected for their 401(k) plans, as well as investigating

   alternatives in the marketplace to ensure that well-performing, low-cost investment options are

   being made available to plan participants.




   4
    Available at: https://www.ici.org/pdf/per22-04.pdf (last visited June 14, 2022).
   5
    Available at http://www.morningstar.com/InvGlossary/morningstar_category.aspx (last visited
   June 14, 2022).


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   Defendant Breached Its Fiduciary Duties by Selecting More Expensive Share Classes Instead
                         of Low-Cost Share Classes of the Same Funds

         60.      The Supreme Court reaffirmed the ongoing fiduciary duty to monitor a plan’s

   investment options in Tibble, 575 U.S. 523. In Tibble, the Court held that “an ERISA fiduciary’s

   duty is derived from the common law of trusts,” and that “[u]nder trust law, a trustee has a

   continuing duty to monitor trust investments and remove imprudent ones.” Id. at 1828. In so

   holding, the Supreme Court referenced with approval the Uniform Prudent Investor Act (“UPIA”),

   treatises, and seminal decisions confirming the duty.

         61.      The UPIA, which enshrines trust law, recognizes that “the duty of prudent investing

   applies both to investing and managing trust assets....” Tibble, 575 U.S. 523 (quoting Nat’l

   Conference of Comm’rs on Uniform State Laws, Uniform Prudent Investor Act § 2(c) (1994)).

   The official comment explains that “‘[m]anaging embraces monitoring, that is, the trustee’s

   continuing responsibility for oversight of the suitability of investments already made as well as the

   trustee’s decisions respecting new investments.” Id. § 2 comment.

         62.      Under trust law, one of the responsibilities of the Plan’s fiduciaries is to “avoid

   unwarranted costs” by being aware of the “availability and continuing emergence” of alternative

   investments that may have “significantly different costs.” Restatement (Third) of Trusts ch. 17,

   intro. note (2007); see also Restatement (Third) of Trusts § 90 cmt. B (2007) (“Cost-conscious

   management is fundamental to prudence in the investment function.”). Adherence to these duties

   requires regular performance of an “adequate investigation” of existing investments in a plan to

   determine whether any of the plan’s investments are “improvident,” or if there is a “superior

   alternative investment” to any of the plan’s holdings. Pension Ben. Guar. Corp. ex rel. St. Vincent




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   Catholic Med. Centers Ret. Plan v. Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705, 718–19 (2d

   Cir. 2013).

         63.      As demonstrated by the chart below, in several instances during the Class Period,

   Defendant failed to prudently monitor the Plan to determine whether the Plan was invested in the

   lowest-cost share class available for the Plan’s mutual funds, which are identical to the mutual

   funds in the Plan in every way except for their lower cost. The chart below contains a non-

   exhaustive illustration of expensive share classes offered by the Plan during the Class Period and

   the available lower-cost share classes for the same fund.

    Fund in Plan              Expense Ratio          Lower Cost Share Net Expense Ratio
                                                     Class of Same Fund

    Ivy Asset Strategy        1.11%                  Ivy Asset Strategy        .71%
    Fund Class Y                                     Fund Class R6
    WASYX                                            IASTX
    JP Morgan Large Cap       .94%                   JP Morgan Large Cap       .54%
    Fund Class A                                     Fund Class R6
    OLGAX                                            JLGRX
    Loomissayles              .95%                   Loomissayles              .70%
    Strategic Income                                 Strategic Income
    Fund Class A                                     Fund Class A
    NEFZX                                            NEZYX
    MFS       International   1.22%                  MFS       International   .62%
    Value                                            Value
    Fund Class R2                                    Fund Class R6
    MINFX                                            MINJX
    Neuberger Berman          1.06%                  Neuberger Berman          .70%
    Equity Income                                    Equity Income
    Class A                                          Fund Class I
    NBHAX                                            NBHIX
    Thornburg Ltd Term        .99%                   Thornburg Ltd Term        .42%
    Income                                           Income
    Share Class R3                                   Share Class R6
    THIRX                                            THRLX
    CREF Bond Market          .28%                   CREF Bond Market          .22%
    Share Class R2                                   Share Class R2
    QCBMPX                                           QCBMIX
    CREF Equity Index         .22%                   CREF Equity Index         .16%
    Share Class R2                                   Share Class R3


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    Fund in Plan             Expense Ratio          Lower Cost Share Net Expense Ratio
                                                    Class of Same Fund

    QCEQPX                                          QCEQIX
    CREFGlobal Equities      .28%                   CREFGlobal Equities      .22%
    Share Class R2                                  Share Class R3
    QCGLPX                                          QCGLIX
    CREF        Inflation-   .23%                   CREF        Inflation-   .17%
    Linked Bond                                     Linked Bond
    Share Class R2                                  Share Class R2
    QCILPX                                          QCILIX
    CREF Money Market        .24%                   CREF Money Market        .18%
    Share Class R2                                  Share Class R3
    QCMMPX                                          QCMMIX
    CREF Stock               .29%                   CREF Stock               .23%
    Share Class R2                                  Share Class R3
    QCSTPX                                          QCSTIX
    CREF Social Choice       .25%                   CREF Social Choice       .19%
    Share Class R2                                  Share Class R3
    QCSCPX                                          QCSICIX
    American        Funds    .51%                   American        Funds    .46%
    EuroPacific Growth                              EuroPacific Growth
    Share Class R5                                  Share Class R6
    RERFX                                           RERGX
    American        Funds    .32%                   American        Funds    .27%
    Washington Mutual                               Washington Mutual
    Share Class R5                                  Share Class R6
    RWMFX                                           RWMGX
    American        Funds    1.11%                  American        Funds    .46%
    Europac                                         Europac
    Share Class R3                                  Share Class R6
    RERCX                                           RERGX
    Columbia Dividend        1.06%                  Columbia Dividend        .71%
    Opportunity                                     Opportunity
    Share Class A                                   Share Class I3
    INUTX                                           CDOYX
    Columbia Large Cap       .45%                   Columbia Large Cap       .20%
    Index                                           Index
    Share Class A                                   Share Class I
    NEIAX                                           NINDX

         64.     As the table above illustrates, throughout the Class Period Defendant should have

   known of the existence and availability of lower-cost share classes, and it should have promptly




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   transferred the Plan’s investments in such funds to the least expensive share classes, however,

   Defendant failed to do so in a prudent manner.

         65.      What is especially troubling here is TIAA is the recordkeeper for the Plan. Many

   of the funds with expensive share classes offered by the plan are funds issued by TIAA. Defendant

   allowed TIAA to freight the Plan with unreasonably expensive and poorly performing TIAA funds.

         66.      Qualifying for lower share classes sometimes requires a minimum investment in

   individual funds. However, these minimums are waived for retirement plans like the Plan here. In

   any event, in most instances the Plan qualified for the lower cost share classes but is paying for

   higher cost share classes. Plan assets are being needlessly wasted and retirement savings frittered

   away. This is a classic breach of ERISA’s fiduciary duty of prudence.

         67.      A prudent fiduciary conducting an impartial review of the Plan’s investments would

   have identified the cheaper share classes available and transferred the Plan’s investments in the

   above-referenced funds into institutional shares at the earliest opportunity. Yet, despite the

   availability of lower-cost shares, Defendant did not transfer Plan holdings in any of these funds

   from higher-priced share classes into the lowest-cost institutional share classes, in breach of their

   fiduciary duties.

         68.      There is no good-faith explanation for utilizing a high-cost share class when a

   lower-cost share class is available for the exact same investment. The Plan did not receive any

   additional services or benefits based on its selection of more expensive share classes; the only

   consequence was higher costs for Plan participants.

                       Defendant Breached Its Fiduciary Duties by Failing to
         Investigate and Select Comparable Lower Cost and Better Performing Investments

         69.      Throughout the Class Period, the Plan’s investment options have been dominated

   by high-cost, actively-managed funds, despite the fact that these funds charged grossly excessive



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   fees compared with alternative funds that used the same investment style, and despite ample

   evidence available to a reasonable fiduciary that such funds had become imprudent due to their

   high costs.

         70.      During the Class Period, the Plan and its participants lost millions of dollars by

   offering investment options that had similar, if not identical, characteristics to other lower-priced

   investment options.

         71.      Importantly, all of the funds offered through the Plan are issued by the parties two

   recordkeepers, TIAA and VALIC (acquired by and now operating as AIG). TIAA and VALIC

   receive compensation from investments made by Plan participants through the Plan. Defendant

   allowed TIAA and VALIC to freight the Plan’s entire investment menu with investments that

   generate excessive fees for TIAA and VALIC at the direct expense of Plan participants.

         72.      For example, Plan participants currently have more than $60 million invested

   through the Plan in the TIAA Lifecycle target date funds. Defendant designated the TIAA

   Lifecycle funds as the Qualified Default Investment Alternative for the Plan. That means that Plan

   participants who do not elect how contributions to their Plan accounts should be allocated will

   have contributions automatically invested in the TIAA Lifecycle funds. The Lifecycle funds,

   however, are expensive and poorly performing funds relative to virtually identical funds available

   throughout the market from many investment companies.              The table below provides, for

   illustration purposes, a small sample of less expensive and better performing alternatives to the

   Lifecycle funds.




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   Current Target     Net Expense      Comparable Target Date Net Expense Ratio
   Date Fund          Ratio            Funds
   TCWIX              .39%             VRIVX                  .09%
   Lifecycle 2025                      Vanguard Trgt 2025

                                       FQIFX                     .012%
                                       Fidelity Freedom 2025

                                       LINKX                     .09%
                                       BlackRock LifePath 2025


   TCRIX              .42%             VTTWX                     .09%
   Lifecycle 2030                      Vanguard Trgt 2030

                                       FQIFX                     .12%
                                       Fidelity Freedom 2030

                                       LIBKX                     .09%
                                       BlackRock LifePath 2030

   TCIIX              .43%             VITFX                     .09%
   Lifecycle 2035                      Vanguard Trgt 2035

                                       FIHFX                     .12%
                                       Fidelity Freedom 2035

                                       LIJKX                     .09%
                                       BlackRock LifePath 2035

   TCOIX              .44%             VIRSX                     .09%
   Lifecycle 2040                      Vanguard Trgt 2040

                                       FBIFX                     .12%
                                       Fidelity Freedom 2040

                                       LIKKX                     .09%
                                       BlackRock LifePath 2040

   TIFIX              .45%             VTIVX                     .08%
   Lifecycle 2045                      Vanguard Trgt 2045

                                       FIOX                      .12%
                                       Fidelity Freedom 2045




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    Current Target          Net Expense          Comparable Target Date Net Expense Ratio
    Date Fund               Ratio                Funds
                                                 LIHIX                   .14%
                                                 BlackRock LifePath 2045

    TFIX                    .45%                 VFIFX                       .08%
    Lifecycle 2050                               Vanguard Trgt 2050


                                                 FIPFX                       .12%
                                                 Fidelity Freedom 2050

                                                 LIPKX
                                                 BlackRock LifePath 2050     .09%


    TTRIX                   .45%                 VFFVX                       .08%
    Lifecycle 2055                               Vanguard Trgt 2055

                                                 FFLDX                       .08%
                                                 Fidelity Freedom 2055

                                                 LIVKX                       .09%
                                                 BlackRock LifePath 2055

    TLXNX                   .45%                 VTTSX                       .08%
    Lifecycle 2060                               Vanguard Trgt 2060

                                                 FDKLX                       .012%
                                                 Fidelity Freedom 2060

                                                 LEIZIX                      .25%
                                                 BlackRock LifePath 2060


         73.     As noted above, these examples are illustrative and not exhaustive. A prudent

   fiduciary under the circumstances would not have included the Lifecycle funds in the Plan. The

   only reason they were included in the Plan is because TIAA is a recordkeeper for the Plan and

   Defendant allowed TIAA to include its Lifecycle funds on the Plan’s menu of investments to

   benefit TIAA and to the detriment of Plan participants. Notably, in 2020, Defendant included the

   Vanguard target date funds in the table above on the Plan’s investment menu too. This is a tacit


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   admission that the Vanguard funds are lower cost and better performing funds that the TIAA

   Lifecycle funds – but importantly, Defendant failed to remove the Lifecycle funds from the Plan’s

   menu of investments. There is no legitimate reason why Defendant ought to include multiple sets

   of the same types of funds on the Plan menu of investment options. This is especially so here when

   the Lifecycle funds are more expensive and perform poorly as compared to the Vanguard funds.

   Defendant violated its duty to monitor and remove imprudent funds from the Plan’s investment

   menu.

           74.    In addition, Defendant created and is governed by an Investment Policy Statement

   (“IPS”) for the Plan. The IPS provides that it was created to “help” Defendant comply with ERISA.

   The IPS provides that expense ratios for investments offered by the Plan should fall below the

   average expense ratio for an investments peer group. Many of the investments offered in the Plan

   contain expense ratios that exceed the investments peer group. The IPS provides that each

   investment offered by the Plan must fulfill a specific part of the Plans’ overall investment lineup.

   However, the Plan’s investment menu is freighted with duplicative investments that do not fulfill

   a specific part of the Plan’s investment lineup. Rather, Defendant has allowed investments from

   the same style and consistency to be offered by TIAA and VALIC throughout the Class Period. It

   appears Defendant made no legitimate effort to comply with ERISA or its IPS and has simply

   allowed TIAA and VALIC freight the Plan menu with investments that serve TIAA and VALIC

   but not Plan participants. In addition, the IPS requires that all actively managements investments

   offered by the Plan rank in the top 50% of their given peer group for the 3 or 5 year annualized

   period. Defendant has failed to comply with this aspect of the IPS too. For example, as of

   December 31, 2020 there is roughly $13 million invested through the Plan in the American Pacific

   Growth Fund (the fund appears twice on the Plan menu of investments and is offered through the




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   Plan by TIAA and VALIC – this is a separate violation of the IPS and Defendant’s duty of

   prudence). This fund has returned -19.38 percent of the past year. That is, the fund is losing money.

   The fund is ranked 66 in its peer group over the past year. This example is illustrative and not

   exhaustive. Many of the funds offered through the Plan underperform.

         75.      Prudent fiduciaries of plans must regularly analyze the Plan’s investment options

   to determine whether its actively managed funds will outperform their benchmark, net of fees.

   Prudent fiduciaries then make a reasoned decision as to whether it would be in the participants’

   best interest to continue to offer that particular actively managed option for the particular

   investment style and asset class.

         76.      Defendant failed to undertake such an analysis when it selected and retained funds

   for the Plan. That is plainly evident given the duplication of funds offered through the Plan. This

   is also apparent given the myriad of actively managed funds offered through the Plan. Defendant

   provided these fund options without conducting a prudent analysis despite the acceptance within

   the investment industry that active managers typically do not outperform passive managers net of

   fees over the long-term.

         77.      Defendant’s failure to remove consistently underperforming investments

   demonstrates the absence of a prudent process to evaluate the Plan’s investment offerings. Had

   Defendant adopted prudent processes in order to discharge its fiduciary duties, funds would have

   been placed on watchlists and tracked on a regular basis to determine if the reason for their poor

   performance had persisted - in which case the funds should have been removed - or whether the

   underperformance was merely the result of a transient market trend or some other factor that would

   correct itself within a reasonable period of time.




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                             Defendant Failed to Monitor or Control the
                          Plan’s Recordkeeping and Administrative Expenses

            78.   The term "recordkeeping" is a catchall term for the suite of administrative services

   typically provided to a defined contribution plan by the plan's "recordkeeper." Beyond simple

   provision of account statements to participants, it is quite common for the recordkeeper to provide

   a broad range of services to a defined contribution plan as part of its package of services. These

   services can include claims processing, trustee services, participant education, managed account

   services, participant loan processing, Qualified Domestic Relations Order (“QDRO”) processing,

   preparation of disclosures, self-directed brokerage accounts, investment consulting, and general

   consulting services.

            79.   Nearly all recordkeepers in the marketplace offer this range of services, and defined

   contribution plans have the ability to customize the package of services they receive and have the

   services priced accordingly. Many of these services can be provided by recordkeepers at very little

   cost. In fact, several of these services, such as managed account services, self-directed brokerage,

   QDRO processing, and loan processing are often a profit center for recordkeepers.

            80.   The market for recordkeeping is highly competitive, with many vendors equally

   capable of providing a high-level service. As a result of such competition, vendors vigorously

   compete for business by offering the best price.

            81.   The cost of providing recordkeeping services depends on the number of participants

   in a plan. Plans with large numbers of participants can take advantage of economies of scale by

   negotiating a lower per-participant recordkeeping fee. Because recordkeeping expenses are driven

   by the number of participants in a plan, the vast majority of plans are charged on a per-participant

   basis.




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          82.     Recordkeeping expenses can either be paid directly from plan assets, or indirectly

   by the plan’s investments in a practice known as revenue sharing (or a combination of both).

   Revenue sharing payments are derived from investments within the plan, typically mutual funds,

   to the plan’s recordkeeper or to the plan directly, to compensate for recordkeeping and trustee

   services that the mutual fund company otherwise would have to provide.

          83.     Utilizing a revenue sharing approach is not per se imprudent. Plaintiffs are not

   making a claim against Defendant for using revenue sharing to pay recordkeeping fees.

          84.     However, when revenue sharing is left unchecked, it can be devastating for Plan

   participants. “At worst, revenue sharing is a way to hide fees. Nobody sees the money change

   hands, and very few understand what the total investment expense pays for. It is a way to milk

   large sums of money out of large plans by charging a percentage-based fee that never goes down

   (when plans are ignored or taken advantage of). In some cases, employers and employees believe

   the plan is ‘free’ when it is in fact expensive.” Justin Pritchard, “Revenue Sharing and Invisible

   Fees.” 6

          85.     Because revenue sharing payments are asset based, they bear no relation to a

   reasonable recordkeeping fee and can provide excessive compensation. Again, it is important to

   emphasize that fees obtained through revenue sharing are tethered not to any actual services

   provided to the Plan; but rather, to a percentage of assets in the Plan and/or investments in mutual

   funds in the Plan. As the assets in the Plan increase, so too increases the recordkeeping fees that

   Capital Research pockets from the Plan and its participants. One commentator likened this fee

   arrangement to hiring a plumber to fix a leaky gasket but paying the plumber not on actual work




   6
    Available at: http://www.cccandc.com/p/revenue-sharing-and-invisible-fees (last visited June
   14, 2022).


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   provided but based on the amount of water that flows through the pipe. If asset-based fees are not

   monitored, the fees skyrocket as more money flows into the Plan.

         86.      It is well-established that plan fiduciaries have an obligation to monitor and control

   recordkeeping fees in order to ensure that such fees remain reasonable. See, e.g., Tussey v. ABB,

   Inc., 746 F.3d 327, 336 (8th Cir. 2014) (“Tussey II”) (holding that fiduciaries of a 401(k) plan

   “breach[] their fiduciary duties” when they “fail[] to monitor and control recordkeeping fees”

   incurred by the plan). Excessive expenses “decrease [an account’s] immediate value” and

   “depriv[es] the participant of the prospective value of funds that would have continued to grow if

   not taken out in fees.” Sweda, 923 F.3d at 328. No matter the method of payment or fee collection,

   the fiduciary must understand the total amount paid the recordkeeper and per-participant fees and

   determine whether pricing is competitive. See Tussey II, 746 F.3d at 336. Thus, defined

   contribution plan fiduciaries have an ongoing duty to ensure that the recordkeeper’s fees are

   reasonable.

         87.      Prudent fiduciaries implement three related processes to prudently manage and

   control a plan’s recordkeeping costs. First, they must closely monitor the recordkeeping fees being

   paid by the plan. A prudent fiduciary tracks the recordkeeper’s expenses by demanding documents

   that summarize and contextualize the recordkeeper’s compensation, such as fee transparencies, fee

   analyses, fee summaries, relationship pricing analyses, cost-competitiveness analyses, and multi-

   practice and stand-alone pricing reports.

         88.      Second, in order to make an informed evaluation as to whether a recordkeeper or

   other service provider is receiving no more than a reasonable fee for the services provided to a

   plan, a prudent fiduciary must identify all fees, including direct compensation and so-called

   “indirect” compensation through revenue sharing being paid to the plan’s recordkeeper. To the




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   extent that a plan’s investments pay asset-based revenue sharing to the recordkeeper, prudent

   fiduciaries closely monitor the amount of the payments to ensure that the recordkeeper’s total

   compensation from all sources does not exceed reasonable levels and require that any revenue

   sharing payments that exceed a reasonable level be returned to the plan and its participants.

         89.      Third, the plan's fiduciaries must remain informed about overall trends in the

   marketplace regarding the fees being paid by other plans, as well as the recordkeeping rates that

   are available. This will generally include conducting a Request for Proposal ("RFP") process at

   reasonable intervals, and immediately if the plan’s recordkeeping expenses have grown

   significantly or appear high in relation to the general marketplace. More specifically, an RFP

   should happen at least every three to five years as a matter of course, and more frequently if the

   plans experience an increase in recordkeeping costs or fee benchmarking reveals the

   recordkeeper's compensation to exceed levels found in other, similar plans. George v. Kraft Foods

   Global, Inc., 641 F.3d 786, 800 (7th Cir. 2011); Kruger v. Novant Health, Inc., 131 F. Supp. 3d

   470, 479 (M.D.N.C. 2015).

         90.      Defendant has failed to prudently manage and control the Plan’s recordkeeping

   costs by failing to undertake any of the aforementioned steps. TIAA and VALIC have been the

   Plan’s recordkeepers during the Class Period. By needlessly doubling the number of

   recordkeepers, Defendant caused the Plan to incur significant-and excessive-fees. Use of a single

   recordkeeper is less confusing to participants and avoids excessive recordkeeping fees charged to

   the Plans. Vendor Consolidation in Higher Education: Getting More from Less, PLANSPONSOR

   (July 29, 2010) (recognizing the following benefits, among others: “The plan participant

   experience is better” because “employees are benefiting from less confusion as a result of fewer

   vendors in the mix”; “Administrative burden is lessened” by “bringing new efficiencies to the




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   payroll”; and “Costs can be reduced” because “[w]ith a reduced number of vendors in the equation,

   plan sponsors are better able to negotiate fees” and many are “reporting lower overall cost resulting

   in an improved cost-per-participant ratio”). 7

         91.      Despite the long-recognized benefits of a single recordkeeper for a defined

   contribution plan, Defendant continues to contract with two different recordkeepers, TIAA and

   VALIC.

         92.      The inefficient and costly decision by Defendant to utilize multiple recordkeepers

   has caused Plan participants to pay and continue to pay duplicative, excessive, and unreasonable

   fees for Plan recordkeeping and administrative services.

         93.      If Defendant had undertaken an RFP since 2015 in order to compare TIAA and

   VALIC’s costs with those of others in the marketplace, Defendant would have recognized that

   TIAA and VALIC’s compensation for recordkeeping services during the Class Period has been

   unreasonable. From 2015 to 2020 the direct annual recordkeeping per participant compensation

   that TIAA and VALIC received from Plan participants were as follows:

                                       Year               Direct Recordkeeping
                                                             Compensation
                                2015                    $56.12

                                2016                    $39.24

                                2017                    $54.18

                                2018                    64.91

                                2019                    $62.80

                                2020                    $57.29




   7
    Available at http://www.plansponsor.com/vendor-consolidation-in-higher
   education/?fullstory=true.


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         94.      By comparison to other plans, the recordkeeping fees are excessive and

   unreasonably high. For instance, the 401k Averages Book (20th ed. 2020), examined

   recordkeeping fees for plans with less $200 million in assets (i.e., substantially smaller than the

   Plan), and demonstrated that as plans increase in size the costs of recordkeeping generally decrease

   on a per participant basis—a classic example of economies of scale. But here the opposite is

   happening. As Plan assets increase so are recordkeeping fees.

         95.      A plan with 200 participants and $20 million in assets, the average recordkeeping

   and administration cost (through direct compensation) is $12 per participant. 401k Averages Book

   at 95. A plan with 2,000 participants and $200 million in assets, the average recordkeeping and

   administration cost (through direct compensation) is $5 per participant. Id. at 108. Defendant

   caused Plan participants to pay excessive fees.

         96.      Moreover, TIAA and VALIC did not receive only the direct compensation set forth

   above—they received far more compensation for recordkeeping and other administrative services

   through revenue sharing payments. Such revenue sharing payments are particularly problematic

   because they are asset-based, and they usually bear no relation to a reasonable recordkeeping fee.

   Rather, in large plans, like this one, revenue sharing often results in excessive compensation,

   especially like here, when high-priced funds are included as plan investment options.

         97.      As one industry expert has noted: “If you don’t establish tight control, the growth

   of your plan’s assets over time may lead to higher than reasonable amounts getting paid to service

   providers. This is because most revenue sharing is asset-based. If a recordkeeper’s workload is

   about the same this year as last, why should they get more compensation just because the market

   had a big year and inflated the asset base? In a large plan, this phenomenon can lead to six figure




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   comp bloat over time. That’s bad for plan participants and bad for fiduciaries.” Jim Phillips, (b)est

   Practices: What Do You Know About Revenue Sharing?, PLANSPONSOR.com (June 6, 2014).

         98.      Another problem is that “revenue sharing is not equivalent among all funds; some

   funds pay no revenue sharing and others pay different revenue-sharing rates. The issue then arises

   that it may not be fair for some participants to pay a higher expense ratio because revenue sharing

   is built in. Another concern is that plan participants who invest in more expensive, revenue-sharing

   funds are bearing a disproportionate amount of the plan’s administrative costs compared with their

   coworkers who have chosen funds without revenue sharing.” Jennifer DeLong, Coming to Grips

   with Excess Revenue Sharing, Context, The AllianceBernstein Blog on Investing (June 2014). 8

   Thus, prior to the Class Period, AllianceBernstein noted, “the prevalence of revenue sharing is

   decreasing as more plans rethink their strategies for making plan fees more transparent.” Id.

         99.      As recognized prior to the Class Period, the best practice is a flat price based on the

   number of participants in a plan, which ensures that the amount of compensation will be tied to

   the actual services provided and that the recordkeeping fees will not fluctuate or change based

   upon, e.g., an increase in assets in the plan. Indeed, in May 2014, AllianceBernstein advised: “DC

   plans and their fiduciaries may be better served to modify or change the plan design a bit, and it

   might be wise to consider removing excess revenue sharing from the picture altogether. One route

   to that solution would be to consider share classes or investment vehicles with lower—or no—




   8
     Available at: https://blog.alliancebernstein.com/post/en/2014/06/coming-to-grips-with-excess-
   revenue-sharing (last visited June 14, 2022).



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   revenue-sharing rates.” Daniel Noto, Rethinking Revenue Sharing, AllianceBernstein (May

   2014). 9

          100.    The Plan’s total expenses for recordkeeping reveals the true extent of Defendant’s

   fiduciary breaches. The total amount of recordkeeping fees (both through direct and indirect

   payments) currently is at least $150 per participant annually, when a reasonable fee ought to be no

   more than $25 per participant annually.

          101.    As noted above, some plans pay recordkeepers fees in addition to direct

   compensation in the form of revenue sharing. Here, the Plan paid TIAA and VALIC a fortune in

   direct and indirect compensation for recordkeeping services throughout the Class Period.

          102.    The recordkeeping fees are far greater than recognized reasonable rates for a plan

   with more than $300 million in assets. Given the growth and size of the Plan’s assets during the

   Class Period, in addition to the general trend towards lower recordkeeping expenses in the

   marketplace as a whole, the Plan could have obtained recordkeeping services that were comparable

   to superior to the typical services that would have been provided to the Plan by TIAA and VALIC.

   TIAA and VALIC perform tasks for the Plan such as validating payroll data, tracking employee

   eligibility and contributions, verifying participant status, recordkeeping and information

   management (computing, tabulating, data processing, etc.)

          103.    The services that TIAA and VALIC provided were nothing out of the ordinary, and

   a prudent fiduciary would have observed the excessive fees being paid to the recordkeepers and

   taken corrective action. Defendant’s failure to monitor and control recordkeeping compensation




   9
       Available at: https://www.alliancebernstein.com/Research-Publications/CMA-created-
   content/Institutional/Instrumentation/DC_RethinkingRevenueSharing.pdf (last visited June 14,
   2022).


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   cost the Plan millions of dollars during the Class Period and constituted a breach of the duty of

   prudence.

                                    FIRST CLAIM FOR RELIEF
                               Breaches of Fiduciary Duties of Prudence

         104.     Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

   Complaint as if fully set forth herein.

         105.     As a fiduciary of the Plan, Defendant was subject to the fiduciary duties imposed

   by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing the Plan’s

   fees and assets for the sole and exclusive benefit of Plan participants and beneficiaries, and acting

   with the care, skill, diligence, and prudence under the circumstances that a prudent person acting

   in a like capacity and familiar with such matters would use in the conduct of an enterprise of like

   character and with like aims.

         106.     Defendant breached these fiduciary duties in multiple respects as discussed

   throughout this Complaint. Defendant did not make decisions regarding the Plan’s investment

   lineup based solely on the merits of each investment and what was in the interest of Plan

   participants and consistent with the ISP. Instead, Defendant selected and retained investment

   options in the Plan despite the high cost of the funds in relation to other comparable investments.

   Defendant also failed to investigate the availability of lower-cost share classes of certain mutual

   funds in the Plan. In addition, Defendant failed to monitor or control the grossly excessive

   compensation paid for recordkeeping services.

         107.     As a direct and proximate result of the breaches of fiduciary duties alleged herein,

   the Plan suffered millions of dollars of losses due to excessive costs and lower net investment

   returns. Had Defendant complied with its fiduciary obligations, the Plan would not have suffered




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   these losses, and Plan participants would have had more money available to them for their

   retirement.

         108.       Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendant is liable to restore to

   the Plan all losses caused by its breaches of fiduciary duties, and also must restore any profits

   resulting from such breaches. In addition, Plaintiffs are entitled to equitable relief and other

   appropriate relief for Defendant’s breaches as set forth in their Prayer for Relief.

                                   SECOND CLAIM FOR RELIEF
                  Failure to Adequately Monitor Other Fiduciaries and Service Providers

         109.       Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

   Complaint as if fully set forth herein.

         110.       Defendant is the named fiduciary with the overall responsibility for the control,

   management and administration of the Plan, in accordance with 29 U.S.C. §1102(a). Defendant

   is the Plan Administrator of the Plan under 29 U.S.C. §1002(16)(A)(i) with exclusive

   responsibility and complete discretionary authority to control the operation, management and

   administration of the Plan, with all powers necessary to enable it to properly carry out such

   responsibilities, including the selection and compensation of the providers of administrative

   services to the Plan and the selection, monitoring, and removal of the investment options made

   available to participants for the investment of their contributions and provision of their retirement

   income.

         111.       Given that Defendant had the overall responsibility for the oversight of the Plan,

   Defendant had a fiduciary responsibility to monitor the performance of the other fiduciaries and

   service providers, including those delegated fiduciary responsibility to administer and manage

   Plan assets.




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         112.     A monitoring fiduciary must ensure that its monitored fiduciaries and service

   providers are performing their obligations, including those with respect to the investment and

   holding of plan assets, and must take prompt and effective action to protect the plan and

   participants when they are not.

         113.     Defendant breached its fiduciary monitoring duties by, among other things:

                  a.      Failing to monitor its appointees, to evaluate their performance, or to have

   a system in place for doing so, and standing idly by as the Plan suffered losses as a result of its

   appointees’ imprudent actions and omissions with respect to the Plan;

                  b.      Failing to monitor its appointees’ fiduciary process, which would have

   alerted any prudent fiduciary to the potential breach because of the excessive administrative and

   investment management fees and consistent underperformance of Plan investments in violation of

   ERISA;

                  c.      Failing to ensure that the monitored fiduciaries and service providers had a

   prudent process in place for evaluating the Plan’s administrative fees and ensuring that the fees

   were competitive, including a process to identify and determine the amount of all sources of

   compensation to the Plan’s recordkeepers and the amount of any revenue sharing payments; a

   process to prevent the recordkeepers from receiving revenue sharing that would increase the

   recordkeepers’ compensation to unreasonable levels even though the services provided remained

   the same; and a process to periodically obtain competitive bids to determine the market rate for

   the services provided to the Plan;

                  d.      Failing to ensure that the monitored fiduciaries and service providers

   considered the ready availability of comparable and better performing investment options that




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   charged significantly lower fees and expenses than the Plan’s mutual fund and insurance company

   variable annuity options; and

                   e.     Failing to remove appointees whose performance was inadequate in that

   they continued to maintain imprudent, excessive cost, and poorly performing investments, all to

   the detriment of Plan participants’ retirement savings.

         114.      Had Defendant discharged its fiduciary monitoring duties prudently as described

   above, the losses suffered by the Plan would have been minimized or avoided. Therefore, as a

   direct result of the breaches of fiduciary duty alleged herein, the Plan, the Plaintiffs, and the other

   Class Members lost millions of dollars of retirement savings.

                                        PRAYER FOR RELIEF

            For these reasons, Plaintiffs, on behalf of the Plan and all similarly situated Plan

   participants and beneficiaries, respectfully request that the Court:

            1.     Find and declare that the Defendant has breached its fiduciary duties as described

   above;

            2.     Find and adjudge that Defendant is personally liable to make good to the Plan all

   losses to the Plan resulting from each breach of fiduciary duties, and to otherwise restore the Plan

   to the position it would have occupied but for the breaches of fiduciary duty;

            3.     Determine the method by which Plan losses under 29 U.S.C. §1109(a) should be

   calculated;

            4.     Order Defendant to provide all accountings necessary to determine the amounts

   Defendant must make good to the Plan under §1109(a);

            5.     Remove the fiduciaries who have breached their fiduciary duties and enjoin them

   from future ERISA violations;




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          6.     Surcharge against Defendant and in favor of the Plan all amounts involved in any

   transactions which such accounting reveals were improper, excessive and/or in violation of

   ERISA;

          7.     Reform the Plan to include only prudent investments;

          8.     Reform the Plan to obtain bids for recordkeeping and to pay only reasonable

   recordkeeping expenses;

          9.     Certify the Class, appoint the Plaintiffs as class representatives, and appoint their

   counsel as Class Counsel;

          10.    Award to the Plaintiffs and the Class their attorney’s fees and costs under 29 U.S.C.

   §1132(g)(1) and the common fund doctrine;

          11.    Order the payment of interest to the extent it is allowed by law; and

          12.    Grant other equitable or remedial relief as the Court deems appropriate.

          DATED this 16th day of June 2022.

                                               Respectfully submitted,


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